             Case 1:19-cr-00304-LMB Document 16 Filed 10/11/19 Page 1 of 1 PageID# 46

                                      IN THE UNITED STATES DISTRICT COURT
                                      FOR THE EASTERN DISTRICT OF VIRGINIA

     APPLICATION TO QUALIFY AS A FOREIGNCRIMINAL
                                          ATTORNEY UNDER LOCAL CIVIL RULE 83.1(D)AND LOCAL
                                                 RULE 57.4
                  In Case Number 1:19-CR-304         Case Name United States v. Henry Kyle Frese
                  Party Represented by Applicant: Henry Kyle Frese
To: The Honorable Judges of the United States District Court for the Eastern District of Virginia
                                                    PERSONAL STATEMENT

FULL NAME(no initials, please) Gary Scott Hulsey
Bar Identification Number 449040            — State DC_
Firm Name Kobre & Kim LLP                                                                       FAX# 0021664-1920
Firm Phone # (202)664-1900               Direct Dial #(202)664-1904
E-Mail Address scott.hulsev@kobrekim.com
Office Mailing Address 1919 M St. NW,Washington,DC 20036
Name(s)offederal court(s)in which I have been admitted NDGA BBC
I certify that the rules ofthe federal court in the district in which I maintain my office extend a similarpro hac vice admission
privilege to members ofthe bar ofthe Eastern District of Virginia.
 I have not been reprimanded in any court nor has there been any action in any court pertaining to my conduct or fitness as a
 member ofthe bar.




 Evidence is current.
                                                                                                             i&kfrom the admission fee.
 I am       am not ^ a full-time employee ofthe United States of America,and ifs^r^
                                                                                      (A'pplicant'^ Signature)


 I. the undersigned, do certify that I am a member of the bar of this ^o-t,not mlated m
 SSh"c:m-sTurS'srm^^^^^^
 petition the court to admit the applicant pro hac vice.                                         —-
                                                                                                                 (Dale)
                                                   (Signature)
                                                                                                                 89382
                                                    Erika L Berman
                                                                                                                  VA Bar Number
                                                            fTvned or Printed Name)

  Court Use Only;

  Clerk's Fee Paid            or Exemption Granted
                                                       or DENIED
  The motion for admission is GRANTED



                                                                                                (Date)

                            /s/
                Leonie M.Brinkema
                United States District Judge
